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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY



  IN RE: VALSARTAN,
  LOSARTAN, AND IRBESARTAN                                           MDL No. 2875
  PRODUCTS LIABILITY
  LITIGATION
                                                              HON. ROBERT B. KUGLER
  THIS DOCUMENT RELATES TO ALL
  CASES



                  NOTICE TO TAKE VIDEOTAPED ORAL DEPOSITION


 TO:    Clem C. Trischler, Esq,
        PIETRAGALLO GORDON ALFANO BOSICK & RASPANTI, LLP
        38TH Floor, One Oxford Centre
        Pittsburgh, Pennsylvania 15219
        Attorneys for Defendants Mylan Pharmaceuticals Inc. (hereinafter “Defendants”).


        Please take notice that pursuant to Federal Rule of Civil Procedure 30, and other applicable

 Rules, including the Local Civil Rules, and the applicable Orders of the Court, Plaintiffs, by and

 through their counsel, will take the videotaped deposition of Antonyraj Gomas, Head of Global

 OSD and API Quality, on April 9, 2021, at 5:00 a.m. eastern standard time, and continuing until

 completion, at Pietragallo Gordon Alfano Bosick & Raspanti, LLP, 38th Floor, One Oxford Center,

 Pittsburgh, Pennsylvania 15219, via zoom, in accordance with the Fact Witness Deposition

 Protocol, Case Management Order #20, filed November 17, 2020 (Document 632). The deposition

 shall address the witness in his individual capacity. The witness shall produce the documents

 requested at Exhibit A, attached hereto, at least 5 days in advance of the deposition.

        Pursuant to the meet and confer between the parties, a translator will not be provided.

 TAKING ATTORNEYS FOR PLAINTIFFS:
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 6001 Bold Ruler Way, Ste 100
 Austin, Texas 78746
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 Fax: 512-795-8787
 jdavis@slackdavis.com



        The videotaped deposition will be taken before a person authorized by law to administer

 oaths, pursuant to Rule 28 of the Federal Rules of Civil Procedure.

 April 6, 2021

                                                     PLAINTIFFS’ CO-LEAD COUNSEL

                                                     By: /s/Ruben Honik______________
                                                     RUBEN HONIK, ESQ.
                                                     Golomb & Honik, P.C.
                                                     1835 Market Street, Ste. 2900
                                                     Philadelphia, PA 19103
                                                     Telephone: 215-327-9166
                                                     ruben@honiklaw.com
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                                         EXHIBIT A

                                 DOCUMENT REQUESTS

    1. The most recent resume/Curriculum Vitae and LinkedIn profile for Antonyraj Gomas.

    2. The complete production of Antonyraj Gomas’s relevant custodial documents, including
       those maintained on personal computers or electronic devices, to the extent not produced
       prior.
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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY



  IN RE: VALSARTAN,
  LOSARTAN, AND IRBESARTAN                                          MDL No. 2875
  PRODUCTS LIABILITY
  LITIGATION
                                                             HON. ROBERT B. KUGLER
  THIS DOCUMENT RELATES TO ALL
  CASES




                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 6, 2021, I caused the foregoing document to be electronically

 filed with the Clerk of the court using CM/ECF system which will send notification of such filing

 to the CM/ECF participants registered to receive service in this MDL.

                                                      PLAINTIFFS’ CO-LEAD COUNSEL

                                                      By:   /s/ David J. Stanoch______________
                                                      DAVID J. STANOCH
                                                      Kanner & Whiteley, L.L.C.
                                                      701 Camp St.
                                                      New Orleans, LA 70130
                                                      Telephone: 504-524-5777
